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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 18-1846V
                                     Filed: August 13, 2019
                                         UNPUBLISHED


    DOLORES DE ALATORRE PEREZ, as
    Mother and Natural Guardian of Minor,
    D.A., and ANTONINO ALATORRE
    GUTIERREZ, as Father and Natural                         Special Processing Unit (SPU);
    Guardian of Minor, D.A.                                  Damages Decision Based on Proffer;
                      Petitioner,                            Tetanus Diphtheria acellular
    v.                                                       Pertussis (Tdap) Vaccine;
                                                             Meningococcal Vaccine; Vasovagal
    SECRETARY OF HEALTH AND                                  Syncope
    HUMAN SERVICES,

                       Respondent.


Jeffrey S. Pop, Jeffrey S. Pop & Associates, Beverly Hills, CA, Wellesley Hills, MA, for
petitioner.
Camille Michelle Collett, U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION AWARDING DAMAGES 1

Dorsey, Chief Special Master:

      On December 3, 2018, Dolores De Alatorre Perez (as mother and natural
guardian of minor D.A.) and Antonino Alatorre Guitierrez (as father and natural guardian
of minor D.A.) (“petitioner’s”), filed a petition on behalf of D.A., a minor, for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq., 2 (the “Vaccine Act”). Petitioners allege that D.A. suffered a
syncopal episode upon receiving Tetanus Diphtheria acellular Pertussis (“Tdap”) and

1 The undersigned intends to post this decision on the United States Court of Federal Claims' website.
This means the decision will be available to anyone with access to the internet. In accordance with
Vaccine Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the
undersigned agrees that the identified material fits within this definition, the undersigned will redact such
material from public access. Because this unpublished decision contains a reasoned explanation for the
action in this case, undersigned is required to post it on the United States Court of Federal Claims'
website in accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services).

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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Meningococcal vaccines on June 22, 2017. Petition at 1. The case was assigned to
the Special Processing Unit of the Office of Special Masters.

       On July 8, 2019, a ruling on entitlement was issued, finding petitioners entitled to
compensation for vasovagal syncope episode. On August 9, 2019, respondent filed a
proffer on award of compensation (“Proffer”) indicating petitioners should be awarded
$675.00 for past unreimbursable expenses and an amount sufficient to purchase an
annuity described in the Proffer at Section II.B. Proffer at 2. In the Proffer, respondent
represented that petitioners agree with the proffered award. Based on the record as a
whole, the undersigned finds that petitioner is entitled to an award as stated in the
Proffer. Id.

       Pursuant to the terms stated in the attached Proffer, the undersigned awards
petitioner:

            •   A lump sum of $675.00 representing past unreimbursable expenses
                in the form of a check payable to petitioners, Dolores De Alatorre
                Perez (as mother and natural guardian of minor D.A.) and Antonino
                Alatorre Guitierrez (as father and natural guardian of minor D.A.); and

            •   An amount sufficient to purchase the annuity contract described in
                the Proffer at Section II.B.

This amount represents all elements of compensation to which D.A. would be entitled
under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision. 3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.


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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS

__________________________________________
                                          )
DOLORES DE ALATORRE PEREZ, as             )
mother and natural guardian of minor, D.A.,
                                          )
and ANTONINO ALATORRE                     )
GUTIERREZ, as father and natural guardian )
of minor, D.A.,                           )
                                          )
                  Petitioners,            )                   No. 18-1846V
 v.                                       )                   Chief Special Master Dorsey
                                          )                   ECF
 SECRETARY OF HEALTH AND                  )
 HUMAN SERVICES,                          )
                                          )
                  Respondent.             )
__________________________________________)

                         RESPONDENT’S PROFFER OF DAMAGES

I. Procedural History

       On December 3, 2018, petitioners filed a petition for compensation (“petition”) under the

National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 to -34, as amended.

Petitioners allege that, as a result of receiving the Tetanus Diphtheria acellular Pertussis (“Tdap”)

and Meningococcal vaccines on June 22, 2017, D.A. suffered a syncopal episode. Petition at 1.

On July 5, 2019, respondent filed his Vaccine Rule 4(c) report, conceding that D.A.’s alleged

injury meets the revised Table criteria for vasovagal syncope episode after a Tdap and

Meningococcal vaccination. On July 8, 2019, the Chief Special Master issued a ruling on

entitlement, finding that petitioner was entitled to compensation for D.A., in that she met the

revised Table criteria for vasovagal syncope episode after receiving a Tdap and Meningococcal

vaccination.




                                                 1
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II.      Items of Compensation and Form of the Award

         Based upon the evidence of record, respondent proffers, and the parties recommend, that

compensation be made through a lump sum and future annuity payments as described below, and

request that the Chief Special Master's decision and the Court's judgment award the following: 1

         A.       Past Unreimbursable Expenses

         Evidence supplied by petitioners documents their expenditure of past unreimbursable

expenses related to D.A.'s vaccine-related injury. Respondent proffers that petitioners should be

awarded past unreimbursable expenses in the amount of $675.00. Petitioners agree.

         B.       Annuity

         An amount sufficient to purchase an annuity contract, 2 paid to the life insurance

company3 from which the annuity will be purchased, 4 subject to the conditions described below,

that will provide payments to D.A. as set forth below:




         1
            Should D.A. die prior to entry of judgment, the parties reserve the right to move the Court for appropriate
relief. In particular, respondent would oppose any award for future medical expenses, future lost earnings, and
future pain and suffering.
         2
           In respondent’s discretion, respondent may purchase one or more annuity contracts from one or more life
insurance companies.
         3
          The Life Insurance Company must have a minimum of $250,000,000 capital and surplus, exclusive of
any mandatory security valuation reserve. The Life Insurance Company must have one of the following ratings
from two of the following rating organizations:

                  a. A.M. Best Company: A++, A+, A+g, A+p, A+r, or A+s;

                  b. Moody's Investor Service Claims Paying Rating: Aa3, Aa2, Aa1, or Aaa;

                  c. Standard and Poor's Corporation Insurer Claims-Paying Ability Rating: AA-, AA, AA+, or
                  AAA;

                  d. Fitch Credit Rating Company, Insurance Company Claims Paying Ability Rating: AA-, AA,
                  AA+, or AAA.
         4
           Petitioner authorizes the disclosure of certain documents filed by the petitioner in this case consistent
with the Privacy Act and the routine uses described in the National Vaccine Injury Compensation Program System
of Records, No. 09-15-0056.

                                                          2
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             1. $23,019.06 payable in a certain lump sum on October 20, 2023.
             2. $24,487.74 payable in a certain lump sum on October 20, 2025.
             3. $26,678.24 payable in a certain lump sum on October 20, 2027.

Should D.A. predecease any of the certain payments set forth above, said payments shall be

made to her estate. Written notice to the Secretary of Health and Human Services and to the Life

Insurance Company shall be provided within twenty (20) days of D.A.’s death.

       This amount represents all elements of compensation to which D.A. would be entitled

under 42 U.S.C. § 300aa-15(a). Petitioners agree. 5


II.    Summary of Recommended Payments Following Judgment

       A.         Past unreimbursable expenses:                                                    $675.00
       B.         An amount sufficient to purchase the annuity contract described
                  above in section I. B.

                                                               Respectfully submitted,

                                                               JOSEPH H. HUNT
                                                               Assistant Attorney General

                                                               C. SALVATORE D’ALESSIO
                                                               Acting Director
                                                               Torts Branch, Civil Division

                                                               CATHARINE E. REEVES
                                                               Deputy Director
                                                               Torts Branch, Civil Division

                                                               ALEXIS B. BABCOCK
                                                               Assistant Director
                                                               Torts Branch, Civil Division




       5
           At the time payment is received, D.A. will be an adult, and thus guardianship is not required.

                                                          3
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                                          /s/Camille M. Collett
                                          CAMILLE M. COLLETT
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                                          Torts Branch, Civil Division
                                          U.S. Department of Justice
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Dated: August 9, 2019                     Tel: (202) 616-4098




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